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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

JOHN NEWMAN                                :
                                           :
               Plaintiff,                  :       Civil Action No. 1:20-cv-3761(TNM)
                                           :
         v.                                :
                                           :
FEDERAL BUREAU OF                          :
PRISONS and UNITED                         :
STATES PAROLE COMMISSION,                  :
                                           :
               Defendants.                 :


                        PLAINTIFF’S [PROPOSED] ORDER


         Upon consideration of Plaintiff’s Response to Defendants’ Motion for Summary

Judgment and Plaintiff’s Cross-Motion for Summary Judgment and the entire record herein, it is

hereby

         ORDERED that Defendants’ Motion for Summary Judgment be and is hereby DENIED;

         IT IS FURTHERE ORDERED that Plaintiff’s Cross-Motion for Summary Judgment be

and is hereby GRANTED.

SO ORDERED.



Date: _______________                              ______________________________
                                                   United States District Judge




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